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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                   Northern Division


MARKEL AMERICAN INSURANCE                            :
COMPANY a/s/o McDonogh School, Inc.                  :
                                                     :   Case No. 1:22-cv-2035
                      Plaintiff,                     :
                                                     :
       v.                                            :
                                                     :
TATE ENGINEERING SYSTEMS, INC.                       :
3921 Vero Road                                       :   DEMAND FOR JURY TRIAL
Baltimore, MD 21227                                  :
                                                     :
Serve on Resident Agent:                             :
CSC-Lawyers Incorporating Service Company            :
7 St. Paul Street                                    :
Suite 820                                            :
Baltimore, MD 21202                                  :
                                                     :
                      Defendants.                    :


                                         COMPLAINT

       Plaintiff Markel American Insurance Company, as subrogee of McDonogh School, Inc.,

by and through its undersigned counsel, avers against Defendant, Tate Engineering Systems,

Inc., as follows:

                                            PARTIES

       1.      Plaintiff, Markel Insurance Company (hereinafter “Markel”), is a company

organized and existing under the laws of the Commonwealth of Virginia and having its principal

place of business located at 4521 Highwoods Parkway, Glen Allen, VA 23060 and at all times

relevant hereto was in the business of issuing property insurance policies and duly authorized to

transact business and issue insurance policies in the State of Maryland.
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       2.      Plaintiff’s Insured, The McDonogh School, Inc. (hereinafter “The McDonogh

School” or “the School”), is a non-profit corporation operating a college preparatory school

organized under the laws of the State of Maryland located at 8600 McDonogh Road, Owings Mills,

Maryland.

       3.      At all times relevant hereto, The McDonogh School was engaged in the business of

education.

       4.      Defendant, Tate Engineering Systems, Inc. (hereinafter “Tate”), is a corporation

organized under the laws of the State of Maryland, with a principal place of business located at

3921 Vero Road, Baltimore, Maryland 21227, and at all times relevant hereto was in the

mechanical services business.

                                         JURISDICTION

       5.      Plaintiff, Markel, is a citizen of the Commonwealth of Virginia. Defendant Tate is

a citizen of the State of Maryland. As such, diversity exists between Plaintiff and Defendant.

       6.      The amount in controversy in this matter exceeds $75,000.00 exclusive of interest

and costs.

       7.      Accordingly, the United States District Court has jurisdiction over this matter based

upon diversity of citizenship pursuant to 28 U.S.C. § 1332.

                                                  VENUE

       8.      Pursuant to 28 U.S.C.A. § 1391, venue is proper in the United States District

Court for the District of Maryland because it is the judicial district within which a substantial

part of the events giving rise to Plaintiff’s claim occurred, which is 8600 McDonogh Road,

Owings Mills, Maryland.



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                                      FACTUAL BACKGROUND

       9.      Plaintiff’s insured, the McDonogh School entered into an agreement with

Defendant Tate, on or about March 29, 2018, to perform work on the boiler system at the

McDonogh School.

       10.     Defendant, Tate performed assembling, designing, fabricating, manufacturing,

warranting, servicing, inspecting, maintaining, testing, maintenance, repair, replacement, work

and start-up of the boiler system at the Property on multiple occasions including on September 18,

2019, when an explosion occurred at the School.

       11.     At all times relevant hereto, Markel issued a policy of insurance under policy no.

8502WS1049717-0 to the McDonogh School. This policy covered the McDonogh School, the real

and personal property of the School, provided business interruption coverage, and insured against

certain other losses of and for the School.

       12.     Thereafter, Tate performed assembling, designing, fabricating, manufacturing,

warranting, servicing, inspecting, maintaining, testing, maintenance, repair, replacement, work

and start-up of the boiler system at the School on September 18, 2019, when an explosion occurred

at the School (hereinafter “the Loss”).

       13.     The Loss was caused by the negligent and careless acts and/or omissions of

Defendant Tate in their assembling, designing, fabricating, manufacturing, warranting, servicing,

inspecting, maintaining, testing, maintenance, repair, replacement, work and start-up of the boiler

system at the School.

       14.     As a direct and proximate result of the Fire Loss, Plaintiff’s Insured suffered

significant damage to its property and sustained certain other losses in an amount in excess of

$75,000.00.


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        15.     In accordance with the terms and conditions of the Policy, Plaintiff was required to

and did make payments to its insured or on behalf of its insured in an amount in excess of

$75,000.00 for damages sustained as a result of the Loss.

        16.     By virtue of Plaintiff’s payments made to its insured, Plaintiff is now subrogated to

the extent of those payments to the rights of recovery that Plaintiff’s Insured possessed against the

Defendant, Tate.

                                        COUNT I - NEGLIGENCE

        17.     Plaintiff hereby incorporates the allegations set forth in the preceding paragraphs

of this Complaint as if fully set forth herein at length.

        18.     Defendant owed a duty to Plaintiff’s Insured to properly assemble, design,

fabricate, manufacture, warrant, service, inspect, maintain, test, maintain, repair, replace, work and

start-up the boiler system at the School in a careful, professional and non-negligent manner.

        19.     Defendant Tate owed a duty to Plaintiff’s Insured to properly assemble, design,

fabricate, manufacture, warrant, service, inspect, maintain, test, maintain, repair, replace, work and

start-up the boiler system at the School in a manner which would not create a dangerous condition,

cause an explosion and/or increase the risk of harm to the boiler system, School and/or other

property.

        20.     Defendant Tate owed a duty to Plaintiff’s Insured to hire competent employees,

agents, representatives, contractors and/or subcontractors to assemble, design, fabricate,

manufacture, warrant, service, inspect, maintain, test, maintain, repair, replace, work and start-up

the boiler system at the School.

        21.     Defendant Tate owed a duty to Plaintiff’s Insured to assemble, design, fabricate,

manufacture, warrant, service, inspect, maintain, test, maintain, repair, replace, work and start-up


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the boiler system at the School in a manner that safeguarded the general public and Plaintiff’s

Insured from the risk of and explosion and the Loss as a result of the sudden and catastrophic

failure of the boiler system.

       22.     Defendant Tate owed a duty to Plaintiff’s Insured to exercise reasonable and/or due

care under the circumstances then and there existing.

       23.     Defendant, Tate carelessly and negligently breached all the above-described duties

by:

               a.      Failing to properly and safely assemble, design, fabricate, manufacture,

       warrant, service, inspect, maintain, test, maintain, repair, replace, work and start-up the

       boiler system that Defendant knew or reasonably should have known would subject

       Plaintiff’s Insured and the School to an unreasonable risk of harm;

               b.      Failing to assemble, design, fabricate, manufacture, warrant, service,

       inspect, maintain, test, maintain, repair, replace, work and start-up the boiler system that

       was safe for all reasonably foreseeable uses;

               c.      Assembling, designing, fabricating, manufacturing, warranting, servicing,

       inspecting, maintaining, testing, repairing, replacing, working and starting-up the boiler

       system that defendant Tate knew or reasonably should have known subjected Plaintiff’s

       Insured and the School to an explosion and the Loss;

               d.      Failing to provide adequate warnings and instructions regarding the risk of

       explosion, the Loss and possible resultant damage to the boiler system;

               e.      Failing to comply with applicable local, state and federal statutes, codes,

       regulations and generally recognized safety practices and standards;

               f.      Failing to comply with industry standards and guidelines;



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       g.      Failing to test and/or inspect the boiler system to determine whether it could

be used by Plaintiff’s Insured without posing a risk of injury to life and/or to property;

       h.      Failing to incorporate an alternative and safer design and/or other guards or

devices to minimize the risk of failure and/or injury during the operation of the boiler

system;

       i.      Failing to warn Plaintiff’s Insured about the defective condition of the boiler

system;

       j.      Negligently     and     carelessly   assembling,      designing,   fabricating,

manufacturing, warranting, servicing, inspecting, maintaining, testing, repairing,

replacing, working and starting-up the boiler system without adequate instructions,

warnings, and/or safeguards;

       k.      Assembling, designing, fabricating, manufacturing, warranting, servicing,

inspecting, maintaining, testing, repairing, replacing, working and starting-up the boiler

system which defendant knew, or reasonably should have known, was defective and would

cause injury to Plaintiff’s Insured;

       l.      Mis-wiring the controls on the burner and draft controls which caused this

explosion.

       m.      Mis-wiring the controls resulting in the dampers on the boiler system

closing when the system called for the dampers to open and the dampers opened when the

system called for the dampers to close resulting in the system filling with gas causing the

explosion and Loss; and

       n.      Otherwise failing to use due care, as to be disclosed during the course of

discovery.



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        24.      The explosion and the Loss and resultant damages occurred as a direct and

proximate result of defendant Tate’s careless and negligent conduct, acts and/or omissions as

averred above.

        25.      As a result of the explosion and the Loss and resultant damage, Plaintiff’s Insured

suffered damage to its property and sustained certain other losses in an amount in excess of

$75,000.00.

        26.      As a result of defendant, Tate’s negligence and the resulting explosion and the Loss,

and pursuant to the terms and conditions of the Policy, Markel made payments to or on behalf of

its insured in an amount in excess of $75,000.00.

        27.      By virtue of the payments made to its insured and pursuant to the terms and

conditions of the Policy, Plaintiff, Markel, is legally, equitably, and contractually subrogated to

the rights of its insured with regard to all claims against Defendant.

        WHEREFORE, Plaintiff, Markel, demands judgment in its favor and against Defendant,

Tate Engineer Systems, Inc., together with interest and the costs of this action.

                                    COUNT II- BREACH OF CONTRACT

        28.      Plaintiff, Markel, incorporates by reference, the preceding paragraphs as though

fully set forth herein at length.

        29.      Defendant Tate expressly and/or impliedly agreed to assemble, design, fabricate,

manufacture, warrant, service, inspect, maintain, test, maintain, repair, replace, work and start-up

the boiler system design in a good and workmanlike manner, free of defects and in accordance

with all applicable county, city and state codes, laws, and regulations, and general standards and

practices of the trade and industry.




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        30.    Based upon defendant Tate’s representations, Plaintiff’s Insured, the McDonogh

School, entered into an agreement with Defendant Tate, on or about March 29, 2018, to perform

work on the boiler system at the McDonogh School.

        31.    At all times relevant hereto, The McDonogh School fulfilled its obligations under

the agreement with Defendant.

        32.    Defendant was obligated by the above promises and agreements to perform the

required work in a manner so as to not cause harm to the property of Plaintiff’s Insured.

        33.    Defendant breached its contract with The McDonogh School by way of, inter

alia:

               a.     Creating a dangerous explosive hazardous condition;

               b.     Failing to exercise reasonable precautions for the prevention of an

                      explosion;

               c.     Failing to properly and safely assemble, design, fabricate, manufacture,

                      warrant, service, inspect, maintain, test, maintain, repair, replace, work and

                      start-up the boiler system that Defendant knew or reasonably should have

                      known would subject Plaintiff’s Insured and the School to an unreasonable

                      risk of harm;

               d.     Failing to assemble, design, fabricate, manufacture, warrant, service,

                      inspect, maintain, test, maintain, repair, replace, work and start-up the boiler

                      system that was safe for all reasonably foreseeable uses;

               e.     Assembling, designing, fabricating, manufacturing, warranting, servicing,

                      inspecting, maintaining, testing, repairing, replacing, working and starting-

                      up the boiler system that defendant Tate knew or reasonably should have known

                      subjected Plaintiff’s Insured and the School to an explosion and the Loss;

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     f.    Failing to provide adequate warnings and instructions regarding the risk of

           explosion, the Loss and possible resultant damage to the boiler system;

     g.    Failing to comply with applicable local, state and federal statutes, codes,

           regulations and generally recognized safety practices and standards;

     h.    Failing to comply with industry standards and guidelines;

     i.    Failing to test and/or inspect the boiler system to determine whether it could

           be used by Plaintiff’s Insured without posing a risk of injury to life and/or

           to property;

     j.    Failing to incorporate an alternative and safer design and/or other guards or

           devices to minimize the risk of failure and/or injury during the operation of

           the boiler system;

     k.    Failing to warn Plaintiff’s Insured about the defective condition of the boiler

           system;

     l.    Negligently    and    carelessly    assembling,     designing,    fabricating,

           manufacturing, warranting, servicing, inspecting, maintaining, testing,

           repairing, replacing, working and starting-up the boiler system without

           adequate instructions, warnings, and/or safeguards;

     m.    Assembling, designing, fabricating, manufacturing, warranting, servicing,

           inspecting, maintaining, testing, repairing, replacing, working and starting-

           up the boiler system which defendant knew, or reasonably should have

           known, was defective and would cause injury to Plaintiff’s Insured;

     n.    Mis-wiring the controls on the burner and draft controls which caused this

           explosion.



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                o.      Mis-wiring the controls resulting in the dampers on the boiler system

                        closing when the system called for the dampers to open and the dampers

                        opened when the system called for the dampers to close resulting in the

                        system filling with gas causing the explosion and Loss; and

                p.      Otherwise failing to use due care, as to be disclosed during the discovery

                        process.

        34.     The Explosion and the Loss and resultant damages occurred as a direct and

proximate result of defendant Tate’s breach of contract and express warranties.

        35.     As a direct and proximate result of the Fire Loss, Plaintiff’s Insured, sustained

damages to its property and certain other losses in an amount in excess of $75,000.00.

        36.     As a result of the explosion and the Loss, Plaintiff has made payments to or on

behalf of its insured in an amount in excess of $75,000.00, in accordance with the terms and

conditions of the Policy.

        37.     By virtue of the payments made to its insured and pursuant to the terms and

conditions of the Policy, Plaintiff, Markel, is legally, equitably, and contractually subrogated to

the rights of its insured with regard to all claims against all Defendant.

        WHEREFORE, Plaintiff, Markel, demands judgment in its favor and against Defendant,

Tate Engineer Systems, Inc., together with interest and the costs of this action.

                                    COUNT III – STRICT LIABILITY

        38.     Plaintiff, Markel, incorporates by reference, the preceding paragraphs as though

fully set forth herein at length.




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        39.     The negligent electrical work on the gas fired boiler system performed by

Defendant Tate was an ultra-hazardous and/or abnormally dangerous activity and constituted an

extraordinary risk of harm and resulted an in explosion.

        40.     Consequently, Defendant is strictly liable to Plaintiff for its damages, even in the

absence of any negligence or breach of duty by Defendant.

        41.     If and to the extent that it is determined that the work performed by Tate for does

not, in general, give rise to strict liability, the specific facts of this event, namely, the conduct of

Defendant by performing electrical work on a gas-fire boiler system in a negligent manner raised

the risk of harm to an extraordinary level, thereby resulting in strict liability being imposed on the

Defendant for the damage to Plaintiffs’ Insureds’ property.

        WHEREFORE, Plaintiff, Markel, demands judgment in its favor and against Defendant,

Tate Engineer Systems, Inc., together with interest and the costs of this action.

    COUNT IV – BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY &
       IMPLIED WARRANTY OF FITNESS FOR PARTIUCLAR PURPOSE
        42.     Plaintiff hereby incorporates the allegations set forth in the preceding paragraphs

as if fully set forth herein at length.

        43.     Defendant Tate impliedly warranted that the boiler system and its component

parts were of merchantable quality, free from defects, constructed of adequate and sufficient

material, and properly designed so as to be fit for the purpose for which it was intended.

        44.     Defendant breached their implied warranties by:

                a. Manufacturing, designing, fabricating, testing, inspecting, distributing,

                    assembling, and/or selling the defective boiler, burner and its component parts;




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               b. Manufacturing, designing, fabricating, testing, inspecting, distributing,

                   assembling, and/or selling the defective boiler, burner and component parts

                   which was not of merchantable quality;

               c. Manufacturing, designing, fabricating, testing, inspecting, distributing,

                   assembling, and/or selling the boiler, burner and component parts which were

                   not fit for the particular purpose for which it was designed and used; and

               d. Failing to ensure that the boiler system, burner and component parts were free

                   from any and all defects before said product left Defendant’s possession,

                   custody and/or control.

       40.     The above-described breaches by defendant Tate constituted the cause in fact and

the direct and proximate cause of the Fire Loss and the resultant damages.

       41.     Defendant Tate received timely notice of the above-described breaches which

were the direct and proximate cause of the Fire Loss and resultant damages.

       42.     As a direct and proximate result of the Loss, Plaintiff’s Insured, sustained

damages to his real and business personal property and certain other losses in an amount in

excess of $75,000.00.

       43.     As a result of the Loss, Plaintiff has made payments to or on behalf of its insured

in an amount in excess of $75,000.00, in accordance with the terms and conditions of the Policy.

       44.     By virtue of the payments made to its insured and pursuant to the terms and

conditions of the Policy, Plaintiff, Markel, is legally, equitably, and contractually subrogated to

the rights of its insured with regard to all claims against Defendant.

       WHEREFORE, Plaintiff, Markel, demands judgment in its favor and against Defendant,

Tate Engineer Systems, Inc., together with interest and the costs of this action.



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                                               Respectfully submitted,

                                               STRAVITZ LAW FIRM, PC

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                                               * Motion for Admission Pro Hac Vice
                                                 to be filed

                                               Counsel for Plaintiff Markel American
                                               Insurance Company

                                 JURY DEMAND

Plaintiff respectfully requests a trial by jury in the above-captioned matter.

                                       /s/Eric N. Stravitz
                                       Eric N. Stravitz (Bar No. 23610)




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